       Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 1 of 25




                              IN THE UNITED STATES DISTRICT
                            COURT FOR THE SOUTHERN DISTRICT
                                OF IOWA CENTRAL DIVISION


  JIMMY ALLEN QUICK,
                                                         Case No. 4:23-cv-258
             Plaintiff,
                                                         LOCAL RULE 81 STATEMENT
  v.

  CITY OF NEWTON, IOWA, ROB
  BURDESS, NATHAN WINTERS, AUSTIN
  VANMANEN, individually and in their
  official capacities with the Newton Police
  Department,                                            Removed from the District Court for Jasper
                                                         County, Iowa, No. LACV123246
             Defendants.

        As required by Local Rule 81, Defendants City of Newton, Rob Burdess, Nathan Winters,

and Austin VanManen (“Defendants”), provide the following information to the Court:

        1.         Copies of all process, pleadings, and orders filed with the Iowa District Court for

Jasper County in this action are attached. See LR 81(a)(1).

        2.         No motions are pending before the Iowa District Court for Jasper County in this

action. See LR 81(a)(2).

        3.         The attorneys appearing on behalf of Plaintiff Jimmy Allen Quick in this action

before the Iowa District Court for Jasper County are:

        Matthew M. Boles (AT0001037)
        Adam C. Witosky (AT0010436)
        GRIBBLE, BOLES, STEWART & WITOSKY LAW
        2015 Grand Avenue, Suite 200
        Des Moines, Iowa 50312
        Telephone: (515) 235-0551
        Facsimile (515) 234-3696
        Email: mboles@gbswlaw.com
               awitosky@gbswlaw.com




                                                                                     EXHIBIT A
     Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 2 of 25




       4.      The attorney that accepted service of process on behalf of Defendants in this action

before the Iowa District Court for Jasper County is:

       Erin M. Clanton (AT0002592)
       BRICK GENTRY P.C.
       6701 Westown Parkway, Suite 100
       West Des Moines, IA 50266
       Phone: (515) 274-1450
       Fax: (515) 274-1488
       erin.clanton@brickgentrylaw.com


                                                       Respectfully submitted,

                                                       /s/Nicholas F. Miller
                                                       Nicholas F. Miller (AT0015361)
                                                       Matthew S. Brick (AT0001081)
                                                       Erin M. Clanton (AT0002592)
                                                       BRICK GENTRY P.C.
                                                       6701 Westown Parkway, Suite 100
                                                       West Des Moines, IA 50266
                                                       Phone: (515) 446-3441
                                                       Fax: (515) 274-1488
                                                       nick.miller@brickgentrylaw.com
                                                       matt.brick@brickgentrylaw.com
                                                       erin.clanton@brickgentrylaw.com

                                                       ATTORNEYS FOR DEFENDANTS, City
                                                       of Newton, Rob Burdess, Nathan Winters,
                                                       and Austin Vanmanen
      Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 3 of 25




                                       Certificate of Service

        I certify that on July 24, 2023, I electronically filed the above Local Rule 81 Statement,

with the Clerk of Court using the CM/ECF system, which will send notice of the filing to counsel

of record for all parties.

        I further certify that on July 24, 2023, I electronically filed the above Local Rule 81

Statement with the Clerk of the Iowa District Court for Jasper County using Iowa’s EDMS

electronic filing system, which will send notice of the filing to counsel of record for all parties as

follows:

        Matthew M. Boles (AT0001037)
        Adam C. Witosky (AT0010436)
        GRIBBLE, BOLES, STEWART & WITOSKY LAW
        2015 Grand Avenue, Suite 200
        Des Moines, Iowa 50312
        Telephone: (515) 235-0551
        Facsimile (515) 234-3696
        Email: mboles@gbswlaw.com
               awitosky@gbswlaw.com
        ATTORNEYS FOR PLAINTIFF,
        Jimmy Allen Quick

        I further certify that on July 24, 2023, I served a copy of this Local Rule 81 Statement and

via U.S. Mail, postage prepaid, as follows:

        Matthew M. Boles (AT0001037)
        Adam C. Witosky (AT0010436)
        GRIBBLE, BOLES, STEWART & WITOSKY LAW
        2015 Grand Avenue, Suite 200
        Des Moines, Iowa 50312
        Telephone: (515) 235-0551
        Facsimile (515) 234-3696
        Email: mboles@gbswlaw.com
               awitosky@gbswlaw.com
        ATTORNEYS FOR PLAINTIFF,
        Jimmy Allen Quick

                                                      /s/Nicholas F. Miller
Case Summary
                       Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 4 of 25




  Case Number: LACV123246    Case Title: QUICK V. CITY OF NEWTON, IA ET AL
  Opened: 06-06-2023
  County: Jasper
  Case Type: PI - OTHER NEGLIGENCE      Judge:
  Prayer Amount: $.00
    Show/Hide Participants

           File Date                   Docket #                                               Case History
  07-19-2023 09:42:00 AM                                    ACCEPTANCE OF SERVICE
                                         D0006
  Plaintiff                                                 Filed by: MATTHEW M BOLES
                                                            Petition Filed: PETITION
  06-06-2023 11:11:00 AM                                    AND JURY DEMAND
                                         D0003
  Plaintiff
                                                            Filed by: MATTHEW M BOLES
                                                            CIVIL ORIGINAL NOTICE
  06-06-2023 11:11:00 AM                                    ON CITY OF NEWTON
                                         D0002
  Plaintiff
                                                            Filed by: MATTHEW M BOLES
                                                            CIVIL ORIGINAL NOTICE
  06-06-2023 11:11:00 AM                                    ON BURDESS
                                         D0004
  Plaintiff
                                                            Filed by: MATTHEW M BOLES
                                                            CIVIL ORIGINAL NOTICE
  06-06-2023 11:11:00 AM                                    ON WINTERS
                                         D0005
  Plaintiff
                                                            Filed by: MATTHEW M BOLES
                                                            CIVIL ORIGINAL NOTICE
  06-06-2023 11:11:00 AM                                    ON VANMANEN
                                         D0001
  Plaintiff
                                                            Filed by: MATTHEW M BOLES




https://www.iowacourts.state.ia.us/...sFullHist&caseNumber=LACV123246&courtLocation=50&participantLName=quick&myCaseMode=No[7/21/2023 3:56:55 PM]
       Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 5 of 25
                  E-FILED 2023 JUN 06 11:11 AM JASPER - CLERK OF DISTRICT COURT




                IN THE IOWA DISTRICT COURT FOR JASPER COUNTY

   JIMMY ALLEN QUICK,
             Plaintiff,
                                                                         CASE NO. _____________
   vs.

   CITY OF NEWTON, IOWA, ROB
                                                                         ORIGINAL NOTICE
   BURDESS, NATHAN WINTERS,
   AUSTIN VANMANEN, individually
   and in their official capacities with
   the Newton Police Department,

                        Defendants.


TO DEFENDANT:                           CITY OF NEWTON, IOWA

You are notified that a Petition and Jury Demand has been filed in the office of the
Clerk of Court in the above-captioned action. A copy of the Petition (and any
documents filed with it) is attached to this Original Notice. Plaintiff’s attorneys are
Matthew M. Boles and Adam C. Witosky of Gribble Boles Stewart & Witosky
Law, 2015 Grand Avenue, Ste. 200, Des Moines, IA 50312; (515) 235-0551, fax
(515) 243-3696.

This Petition was filed on June 6, 2023.

This case has been filed in a county that uses electronic filing. Therefore,
unless the attached Petition contains a hearing date for your appearance, you must
electronically file a motion or answer within twenty (20) days after service of this
Original Notice upon you. If you do not, judgment by default may be rendered against
you for the relief demanded in the Petition. For general rules and information on
electronic filing, refer to the Iowa Court Rules Chapter 16, pertaining to the use of
the electronic document management system. For court rules on protection of
personal privacy in court filings, refer to Division VI of Iowa Court Rules Chapter 16.

NOTE: The attorney who is expected to represent the Defendant should be promptly
advised by Defendant of the service of this Notice.
If you require the assistance of auxiliary aids or services to participate in court because of a disability, immediately call your
district ADA coordinator at (515) 286-3394. If you are hearing impaired, call Relay Iowa TTY at 1-800-735-2942.
               Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 6 of 25
                         E-FILED 2023 JUN 06 11:58 AM JASPER - CLERK OF DISTRICT COURT




Iowa Judicial Branch                                               Case No.       LACV123246
                                                                   County         Jasper

Case Title     QUICK V. CITY OF NEWTON, IA ET AL

You must file your Appearance and Answer on the Iowa Judicial Branch eFile System, unless the attached Petition and
Original Notice contains a hearing date for your appearance, or unless the court has excused you from filing electronically
(see Iowa Court Rule 16.302).

Register for the eFile System at www.iowacourts.state.ia.us/Efile to file and view documents in your case and to receive
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Judicial Branch website at www.iowacourts.gov/for-the-public/representing-yourself/protect-personal-information/.

Scheduled Hearing:




If you need assistance to participate in court due to a disability, call the disability access coordinator at (515) 286-3394 .
Persons who are hearing or speech impaired may call Relay Iowa TTY (1-800-735-2942). For more information, see
www.iowacourts.gov/for-the-public/ada/. Disability access coordinators cannot provide legal advice.

Date Issued 06/06/2023 11:58:17 AM




District Clerk of Court or/by Clerk's Designee of Jasper      County
 /s/ Karen Shields
       Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 7 of 25
                  E-FILED 2023 JUN 06 11:11 AM JASPER - CLERK OF DISTRICT COURT




                IN THE IOWA DISTRICT COURT FOR JASPER COUNTY

   JIMMY ALLEN QUICK,
             Plaintiff,
                                                                         CASE NO. _____________
   vs.

   CITY OF NEWTON, IOWA, ROB
                                                                         ORIGINAL NOTICE
   BURDESS, NATHAN WINTERS,
   AUSTIN VANMANEN, individually
   and in their official capacities with
   the Newton Police Department,

                        Defendants.


TO DEFENDANT:                           NATHAN WINTERS

You are notified that a Petition and Jury Demand has been filed in the office of the
Clerk of Court in the above-captioned action. A copy of the Petition (and any
documents filed with it) is attached to this Original Notice. Plaintiff’s attorneys are
Matthew M. Boles and Adam C. Witosky of Gribble Boles Stewart & Witosky
Law, 2015 Grand Avenue, Ste. 200, Des Moines, IA 50312; (515) 235-0551, fax
(515) 243-3696.

This Petition was filed on June 6, 2023.

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you for the relief demanded in the Petition. For general rules and information on
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the electronic document management system. For court rules on protection of
personal privacy in court filings, refer to Division VI of Iowa Court Rules Chapter 16.

NOTE: The attorney who is expected to represent the Defendant should be promptly
advised by Defendant of the service of this Notice.
If you require the assistance of auxiliary aids or services to participate in court because of a disability, immediately call your
district ADA coordinator at (515) 286-3394. If you are hearing impaired, call Relay Iowa TTY at 1-800-735-2942.
               Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 8 of 25
                         E-FILED 2023 JUN 06 11:58 AM JASPER - CLERK OF DISTRICT COURT




Iowa Judicial Branch                                               Case No.       LACV123246
                                                                   County         Jasper

Case Title     QUICK V. CITY OF NEWTON, IA ET AL

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Judicial Branch website at www.iowacourts.gov/for-the-public/representing-yourself/protect-personal-information/.

Scheduled Hearing:




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www.iowacourts.gov/for-the-public/ada/. Disability access coordinators cannot provide legal advice.

Date Issued 06/06/2023 11:58:17 AM




District Clerk of Court or/by Clerk's Designee of Jasper      County
 /s/ Karen Shields
       Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 9 of 25
                  E-FILED 2023 JUN 06 11:11 AM JASPER - CLERK OF DISTRICT COURT




                IN THE IOWA DISTRICT COURT FOR JASPER COUNTY

   JIMMY ALLEN QUICK,
             Plaintiff,
                                                                         CASE NO. _____________
   vs.

   CITY OF NEWTON, IOWA, ROB
                                                                         ORIGINAL NOTICE
   BURDESS, NATHAN WINTERS,
   AUSTIN VANMANEN, individually
   and in their official capacities with
   the Newton Police Department,

                        Defendants.


TO DEFENDANT:                           AUSTIN VANMANEN

You are notified that a Petition and Jury Demand has been filed in the office of the
Clerk of Court in the above-captioned action. A copy of the Petition (and any
documents filed with it) is attached to this Original Notice. Plaintiff’s attorneys are
Matthew M. Boles and Adam C. Witosky of Gribble Boles Stewart & Witosky
Law, 2015 Grand Avenue, Ste. 200, Des Moines, IA 50312; (515) 235-0551, fax
(515) 243-3696.

This Petition was filed on June 6, 2023.

This case has been filed in a county that uses electronic filing. Therefore,
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NOTE: The attorney who is expected to represent the Defendant should be promptly
advised by Defendant of the service of this Notice.
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district ADA coordinator at (515) 286-3394. If you are hearing impaired, call Relay Iowa TTY at 1-800-735-2942.
      Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 10 of 25
                  E-FILED 2023 JUN 06 11:11 AM JASPER - CLERK OF DISTRICT COURT




                IN THE IOWA DISTRICT COURT FOR JASPER COUNTY

   JIMMY ALLEN QUICK,
             Plaintiff,
                                                                         CASE NO. _____________
   vs.

   CITY OF NEWTON, IOWA, ROB
                                                                         ORIGINAL NOTICE
   BURDESS, NATHAN WINTERS,
   AUSTIN VANMANEN, individually
   and in their official capacities with
   the Newton Police Department,

                        Defendants.


TO DEFENDANT: ROB BURDESS

You are notified that a Petition and Jury Demand has been filed in the office of the
Clerk of Court in the above-captioned action. A copy of the Petition (and any
documents filed with it) is attached to this Original Notice. Plaintiff’s attorneys are
Matthew M. Boles and Adam C. Witosky of Gribble Boles Stewart & Witosky
Law, 2015 Grand Avenue, Ste. 200, Des Moines, IA 50312; (515) 235-0551, fax
(515) 243-3696.

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               Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 11 of 25
                         E-FILED 2023 JUN 06 11:58 AM JASPER - CLERK OF DISTRICT COURT




Iowa Judicial Branch                                               Case No.       LACV123246
                                                                   County         Jasper

Case Title     QUICK V. CITY OF NEWTON, IA ET AL

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Scheduled Hearing:




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Persons who are hearing or speech impaired may call Relay Iowa TTY (1-800-735-2942). For more information, see
www.iowacourts.gov/for-the-public/ada/. Disability access coordinators cannot provide legal advice.

Date Issued 06/06/2023 11:58:17 AM




District Clerk of Court or/by Clerk's Designee of Jasper      County
 /s/ Karen Shields
               Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 12 of 25
                         E-FILED 2023 JUN 06 11:58 AM JASPER - CLERK OF DISTRICT COURT




Iowa Judicial Branch                                               Case No.       LACV123246
                                                                   County         Jasper

Case Title     QUICK V. CITY OF NEWTON, IA ET AL

You must file your Appearance and Answer on the Iowa Judicial Branch eFile System, unless the attached Petition and
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Judicial Branch website at www.iowacourts.gov/for-the-public/representing-yourself/protect-personal-information/.

Scheduled Hearing:




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Date Issued 06/06/2023 11:58:17 AM




District Clerk of Court or/by Clerk's Designee of Jasper      County
 /s/ Karen Shields
    Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 13 of 25
            E-FILED 2023 JUN 06 11:11 AM JASPER - CLERK OF DISTRICT COURT




           IN THE IOWA DISTRICT COURT FOR JASPER COUNTY

  JIMMY ALLEN QUICK,
            Plaintiff,
                                               CASE NO. _____________
  vs.

  CITY OF NEWTON, IOWA, ROB
                                               PETITION AT LAW and JURY
  BURDESS, NATHAN WINTERS,
                                               DEMAND
  AUSTIN VANMANEN, individually
  and in their official capacities with
  the Newton Police Department,

               Defendants.


      COMES NOW, the Plaintiff, and for his Petition at Law and Jury Demand

states:

      1.     Plaintiff Jimmy Quick is a citizen and resident of Iowa at all times

relevant to the events complained of herein.

      2.     Defendant City of Newton, Iowa (hereinafter “City”) is a municipal

corporation organized and authorized to operate under the laws of Iowa and is located

at 101 West 4th Street South, Newton, Jasper County, Iowa 50208. Defendant City is

responsible for maintaining and operating the Newton Police Department.

      3.     Defendant Chief Rob Burdess is believed to be a citizen and resident of

Iowa and was serving as the Chief of Police for the Newton Police Department at all

times relevant to the events complained of herein.

      4.     Defendant Nathan Winters is believed to be a citizen and resident of

Iowa and was serving as a police officer for the City of Newton Police Department at

all times relevant to the events complained of herein.

      5.     Defendant Austin VanManen is believed to be a citizen and resident of
    Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 14 of 25
             E-FILED 2023 JUN 06 11:11 AM JASPER - CLERK OF DISTRICT COURT




Iowa and was serving as a police officer for the City of Newton Police Department at

all times relevant to the events complained of herein.

                           JURISDICTION AND VENUE

       6.     Jurisdiction of the District Court is proper under Iowa Code §602.6101.

       7.     All events, actions, injuries, and damages referenced in this Petition

occurred in Jasper County, therefore venue is proper under Iowa Code §616.18.

                      GENERAL FACTUAL ALLEGATIONS

       8.     Plaintiff repleads each preceding paragraph as if fully set forth herein.

       9.     On June 7, 2021, Jimmy was arrested by Officers Nathan Winters and

Austin VanManen at or near the Kwikstar located at 1910 1st Ave E in Newton, Iowa.

       10.    Police had been contacted as Jimmy appeared sick and to be having a

medical issue.

       11.    Jimmy was having an adverse and extreme reaction to medication that

had been properly administered by a medical professional.

       12.    Jimmy also has mobility issues and uses a cane.

       13.    Officers Winters and VanManen responded to the Kwikstar and located

Jimmy.

       14.    Officers Winters and VanManen proceeded to put Jimmy through field

sobriety tests despite Jimmy advising them of his mobility issues and underlying

injuries.

       15.    Jimmy submitted to a PBT which indicated a blood alcohol content of

0.00%.
    Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 15 of 25
            E-FILED 2023 JUN 06 11:11 AM JASPER - CLERK OF DISTRICT COURT




      16.     Jimmy informed Officers Winters and VanManen he had recently been

administered medication.

      17.     Officers Winters and VanManen had reason to know Jimmy’s condition

was due to the medication he had been administered.

      18.     Officers Winters and VanManen arrested Jimmy for Operating While

Intoxicated, First Offense despite this knowledge.

                               CAUSES OF ACTION

                                 COUNT I
           CIVIL RIGHTS VIOLATION UNDER 42 U.S.C. § 1983
             VIOLATION OF FOURTH AMENDMENT TO THE
                    UNITED STATES CONSTITUTION
           Right to be Free from Arrest without Probable Cause
       (Against Nathan Winters and Austin VanManen, individually)

      8.      Plaintiff repleads each preceding paragraph as if fully set forth herein.

      9.      Defendants Nathan Winters and Austin VanManen are individuals for

a Section 1983 action for damages.

      10.     At all times material hereto, Officer Winters’ actions and/or omissions

were made under the color of authority and law as an officer for the Newton Police

Department.

      11.     At all times material hereto, Officer VanManen’s actions and/or

omissions were made under the color of authority and law as an officer for the Newton

Police Department.

      12.     On August 28, 2022, Officers Winters and VanManen violated Jimmy’s

constitutional rights by detaining and arresting Jimmy without probable cause to

believe a criminal offense had been committed.
    Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 16 of 25
              E-FILED 2023 JUN 06 11:11 AM JASPER - CLERK OF DISTRICT COURT




      13.      Based upon the facts known to Officers Winters and VanManen, no

reasonable officer could believe probable cause existed to arrest Jimmy.

      14.      Officers Winters and VanManen violated Jimmy’s clearly established

Fourth Amendment Right under the United States Constitution to be free from

unlawful arrest.

      15.      On June 7, 2021, the law was clearly established a warrantless arrest

made without probable cause violated the Fourth Amendment of the United States

Constitution.

      16.      Officers Winters and VanManen demonstrated deliberate indifference

to and/or reckless disregard for Jimmy’s civil and constitutional rights by their

unlawful arrest of Jimmy.

      17.      Officers Winters and VanManen’s actions were willful, wanton,

unlawful, and in gross disregard of Jimmy’s civil rights, justifying an award of

punitive damages.

      18.      As a direct and proximate result of Officers Winters and VanManen’s

illegal and unjustified conduct, Jimmy was injured and is entitled to recover for what

he has suffered in the past and will suffer in the future suffer, including:

            a. Deprivation of his constitutional rights;

            b. Humiliation, degradation, public ridicule, loss of personal
               reputation, and emotional distress;

            c. Actual and Compensatory Damages including, but not limited to
               past, present, and future pain and suffering and medical
               expenses;
            d. Punitive damages;
    Case 4:23-cv-00258-SMR-SBJ Document 1-1 Filed 07/24/23 Page 17 of 25
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            e. All expenses associated with the prosecution of the instant action,
               including, but not limited to, court costs, anticipated discovery
               expenses, anticipated expert expenses, and the maximum legally
               allowable judgment interest; and

            f. Any other expenses allowed by federal or state law, including but
               not limited to reasonable attorney’s fees and costs under 42
               U.S.C. §1988.

      WHEREFORE, Plaintiff Jimmy Allen Quick prays for Judgment against the

Defendants Nathan Winters and Austin VanManen as follows:

            a. Actual, Compensatory, Consequential, and all other allowable
               damages against Defendants in an amount yet to be determined;

            b. Compensation for violation of his constitutional rights, pain,
               suffering, mental anguish, and humiliation;

            c. Plaintiff’s costs in this action, including reasonable attorney fees
               and costs under 42 U.S.C. § 1988;

            d. Punitive damages; and

            e. Such relief as the Court deems just and equitable.

                                 COUNT II
           CIVIL RIGHTS VIOLATION UNDER 42 U.S.C. § 1983
             VIOLATION OF FOURTH AMENDMENT TO THE
                   UNITED STATES CONSTITUTION
            Monell Liability for Arrest without Probable Cause
    (Against Defendants Rob Burdess, individually, and City of Newton)

      19.      Plaintiff repleads each preceding paragraph as if fully set forth herein.

      20.      Defendants Rob Burdess and City of Newton are persons for a Section

1983 action for damages.

      21.      At all times material hereto, Chief Burdess’ actions and/or omissions

were made under the color of authority as the Chief of Police for the Defendant City.
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      22.    As Chief, Chief Burdess is responsible for supervising and training the

law enforcement officers of the Newton Police Department, as well as implementing

and enforcing the City’s policies.

      23.    Chief Burdess and City failed to establish and/or maintain, and/or

enforce official city and/or county policies, patterns, practices, or customs for

determining when probable cause exists to arrest for operating while intoxicated.

      24.    Before the events described supra, Chief Burdess and City deliberately

and with reckless disregard for the constitutional rights of its citizens failed to

establish an adequate policy and procedure for training and supervising officers

within the department relating to when probable cause exists to arrest for operating

while intoxicated, particularly as it relates to adverse reactions to medications which

had been properly administered.

      25.    The customs and practices of Chief Burdess and City involve the failure

to initiate policies to ensure arrests are performed only where a warrant was issued

or where probable cause exists to believe a criminal offense has been committed.

      26.    The customs and practices of the Newton Police Department either

permitted officers who did not know how to properly perform or assess field tests, or

who incorrectly performed or assessed field tests, to conduct arrests based on the bad

information developed from those tests.

      27.     The customs and practices of the Newton Police Department either

permitted officers to conduct field testing as above in the presence of ranking and

supervising officers without fear of correction or reprimand for how the tests were
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performed and assessed.

      28.      The acts and/or omissions of Chief Burdess and City regarding law

enforcement and citizen interactions amounted to deliberate indifference to the rights

and safety of citizens, including Jimmy.

      29.      The actions and/or omissions of Chief Burdess and City intruded upon

Jimmy’s right to be free from arrest in the absence of probable cause.

      30.      The failure of Chief Burdess and City to implement effective policies,

patterns, practices, and/or customs was a moving force behind, and effectively caused,

Defendants Winters and VanManen to violate Jimmy’s constitutional rights.

      31.      On June 7, 2021, the law clearly established municipal officers and

municipalities could be liable for another municipal officer’s warrantless arrest made

without probable cause which violated the Fourth Amendment of the United States

Constitution.

      32.      Chief Burdess and City’s actions were willful, wanton, unlawful, and in

gross disregard of Jimmy’s civil rights, justifying an award of punitive damages.

      33.      The actions and/or omissions of Chief Burdess and the City of Newton

intruded upon Jimmy’s clearly established constitutional right to be free from arrest

without probable cause under the Fourth Amendment.

      34.      As a direct and proximate result of Chief Burdess’ and City’s illegal and

unjustified conduct, Jimmy was injured and is entitled to recover for what he has

suffered in the past and will suffer in the future suffer, including:

            a. Deprivation of his constitutional rights;
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         b. Humiliation, degradation, public ridicule, loss of personal
            reputation, and emotional distress;

         c. Actual and Compensatory Damages including, but not limited to
            past, present, and future pain and suffering and medical
            expenses;

         d. Punitive damages;

         e. All expenses associated with the prosecution of the instant action,
            including, but not limited to, court costs, anticipated discovery
            expenses, anticipated expert expenses, and the maximum legally
            allowable judgment interest; and

         f.    Any other expenses allowed by federal or state law, including but
               not limited to reasonable attorney’s fees and costs under 42
               U.S.C. §1988.

      WHEREFORE, Plaintiff Jimmy Allen Quick prays for Judgment against the

Defendants Chief Rob Burdess and City of Newton as follows:

         a. Actual, Compensatory, Consequential, and all other allowable
            damages against Defendants in an amount yet to be determined;

         b. Compensation for violation of his constitutional rights, pain,
            suffering, mental anguish, and humiliation;

         c. Plaintiff’s costs in this action, including reasonable attorney fees
            and costs under 42 U.S.C. § 1988;

         d. Punitive damages; and

         e. Such relief as the Court deems just and equitable.




                                     COUNT III
                                   FALSE ARREST
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               (Against Nathan Winters and Austin VanManen,
                 individually and in their official capacities)

      35.    Plaintiff repleads each preceding paragraph as if fully set forth herein.

      36.    On June 7, 2021, Jimmy was detained and arrested against his will.

      37.    Jimmy was wrongfully detained by Officers Winters and VanManen.

      38.    The detention and restraint by Officers Winters and VanManen were

the cause of Jimmy’s damages.

      39.    Officers Winters and VanManen’s detention and restraint of Jimmy was

without probable cause violating Jimmy’s clearly established rights.

      40.    Based upon the facts known to Officers Winters and VanManen, no

reasonable officer would believe probable cause existed to arrest Jimmy.

      41.    Officers Winters and VanManen acted with malice in the detention and

restraint of Jimmy.

      42.    On June 7, 2021, false arrest was clearly established as a common law

tort for which municipal officers could be held liable.

      43.    Officers Winters and VanManen’s actions were willful, wanton,

unlawful, and in gross disregard of Jimmy’s rights and reputation, justifying an

award of punitive damages.

      44.    Plaintiff hereby requests reasonable attorney fees and costs associated

with prosecuting this action as Defendants’ behavior was oppressive, conniving,

harsh, cruel, and/or tyrannical.

      WHEREFORE, the Plaintiff, Jimmy Allen Quick, respectfully requests

judgment against Defendants Nathan Winters and Austin VanManen in an amount
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which fully and fairly compensates him for his mental, and emotional injuries and

damages, compensatory and punitive damages, for interest and costs as allowed by

law, and such other relief as may be just under the circumstances.

                              COUNT IV
              NEGLIGENT SUPERVISION AND TRAINING
    (Against Defendants Rob Burdess, individually, and City of Newton)

      45.    Plaintiff repleads each preceding paragraph as if fully set forth herein.

      46.    Defendants Chief Burdess and City were the employers and/or

supervising officers of Officer Winters.

      47.    As the employer, Defendants must exercise reasonable care in the

hiring, retention, and supervision of individuals who, because of their employment,

may pose a threat of injury to members of the public.

      48.    Defendants breached their duty in the negligent and reckless

supervision and training of Officers Winters and VanManen as it relates to their

making false arrests in their role as law enforcement officers for the City of Newton.

      49.    Defendants knew, or in the exercise of ordinary care should have known,

of the incompetence, unfitness, and dangerous characteristics of Officers Winters and

VanManen.

      50.    The incompetence, unfitness, and dangerous characteristics of Officers

Winters and VanManen were a cause of damages to Plaintiff.

      51.    On June 7, 2021, negligent training and supervision was clearly

established as a common law tort for which municipal officers and municipalities

could be held liable.
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      52.    The Defendants’ negligence was a proximate cause of Plaintiff’s injuries.

      WHEREFORE, the Plaintiff, Jimmy Allen Quick, respectfully requests

judgment against Defendants Rob Burdess and City of Newton in an amount which

fully and fairly compensates him for his mental, and emotional injuries and damages,

compensatory damages, for interest and costs as allowed by law, and such other relief

as may be just under the circumstances.

                                  COUNT V
                          RESPONDEAT SUPERIOR
                      (Against Defendant City of Newton)

      53.    Plaintiff repleads each preceding paragraph as if fully set forth herein.

      54.    At all times material hereto, an employer-employee relationship existed

between the City of Newton, as the employer, and Officers Winters and VanManen

as employees.

      55.    At all times material hereto, Officers Winters and VanManen were

acting within the scope of their employment with the City of Newton.

      56.    Under the doctrine of respondeat superior, City is liable for the

aforementioned conduct and/or omissions of Officers Winters and VanManen.

      57.    On June 7, 2021, respondeat superior was clearly established as a

common law tort for which municipal officers and municipalities could be held liable.

      58.    As a result of the conduct and/or omissions of Defendant, Plaintiff

sustained damages as previously outlined in this Petition.

      WHEREFORE, the Plaintiff, Jimmy Allen Quick, respectfully requests

judgment against Defendant City of Newton in an amount which fully and fairly
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compensates him for his mental, and emotional injuries and damages, compensatory

damages, for interest and costs as allowed by law, and such other relief as may be

just under the circumstances.

                                      JURY DEMAND

       Plaintiff hereby demands a trial by jury in this matter on all counts to which

Plaintiff is entitled to a jury.

                             GRIBBLE, BOLES, STEWART & WITOSKY LAW

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